        Case 6:21-cr-10068-JWB Document 22 Filed 10/05/21 Page 1 of 13




         UNITED STATES DISTRICT COURT
                                 District of Kansas
UNITED STATES OF AMERICA,

                    Plaintiff,

              v.                               CASE NO. 6:21-cr-10068-JWB-01-02-03

DUSTIN KENNETH STROM,
THOMMIE-LYN STANSKY, and
DILLON E. EVERMAN

                    Defendants.

                   SUPERSEDING INDICTMENT

      THE GRAND JURY CHARGES:

                                      COUNT 1

    Conspiracy to Commit Sexual Exploitation of a Child – Production of Child
                                Pornography
                          18 U.S.C. § 2251(a) and (e)

      Between February 1, 2021 and August 23, 2021, in the District of Kansas, the

defendants,

                         DUSTIN KENNETH STROM, and
                           THOMMIE-LYN STANSKY,

did knowingly conspire with each other to use a minor, Minor Victim 1 known to the

Grand Jury, to engage in sexually explicit conduct for the purpose of producing a visual

depiction of such conduct, and knowing and having reason to know that such visual

depiction would be produced using materials that had been mailed, shipped, and
          Case 6:21-cr-10068-JWB Document 22 Filed 10/05/21 Page 2 of 13




transported in and affecting interstate or foreign commerce, and knowing such visual

depiction would be transmitted using any means or facility of interstate or foreign

commerce and in and affecting interstate or foreign commerce, and such visual depiction

was transmitted using any means or facility of interstate or foreign commerce and in and

affecting interstate or foreign commerce, in violation of Title 18 U.S.C. § 2251(a) and

(e).

                                        COUNT 2

       Conspiracy to Commit Sexual Exploitation of a Child – Production of Child
                                   Pornography
                             18 U.S.C. § 2251(a) and (e)

         Between May 1, 2021 and August 23, 2021, in the District of Kansas, the

defendants,

                           DUSTIN KENNETH STROM, and
                             THOMMIE-LYN STANSKY,

did knowingly conspire with each other to use a minor, Minor Victim 2 known to the

Grand Jury, to engage in sexually explicit conduct for the purpose of producing a visual

depiction of such conduct, and knowing and having reason to know that such visual

depiction would be produced using materials that have been mailed, shipped, and

transported in and affecting interstate or foreign commerce, and knowing such visual

depiction would be transmitted using any means or facility of interstate or foreign

commerce and in and affecting interstate or foreign commerce, and such visual depiction

was transmitted using any means or facility of interstate or foreign commerce and in and



                                             2
        Case 6:21-cr-10068-JWB Document 22 Filed 10/05/21 Page 3 of 13




affecting interstate or foreign commerce, in violation of Title 18 U.S.C. § 2251(a) and

(e).

                                       COUNT 3

         Sexual Exploitation of a Child – Production of Child Pornography
                                 18 U.S.C. § 2251(a)

       Sometime between February 1, 2021, and June 7, 2021, in the District of Kansas,

the defendant,

                            DUSTIN KENNETH STROM,

knowingly used a minor, Minor Victim 1 known to the Grand Jury, to engage in sexually

explicit conduct for the purpose of producing a visual depiction of such conduct, and

knowing and having reason to know that such visual depiction would be transmitted

using any means or facility of interstate or foreign commerce and in and affecting

interstate or foreign commerce, and such visual depiction was transmitted using any

means or facility of interstate or foreign commerce and in and affecting interstate or

foreign commerce, in violation of Title 18 U.S.C. § 2251(a).

                                       COUNT 4

         Sexual Exploitation of a Child – Production of Child Pornography
                                 18 U.S.C. § 2251(a)

       On or about sometime between July 1, 2021 and July 23, 2021, in the District of

Kansas, the defendant,

                            DUSTIN KENNETH STROM,




                                            3
        Case 6:21-cr-10068-JWB Document 22 Filed 10/05/21 Page 4 of 13




knowingly used a minor, Minor Victim 1 known to the Grand Jury, to engage in sexually

explicit conduct for the purpose of producing a visual depiction of such conduct, and

knowing and having reason to know that such visual depiction would be transmitted

using any means or facility of interstate or foreign commerce and in and affecting

interstate or foreign commerce, and such visual depiction was transmitted using any

means or facility of interstate or foreign commerce and in and affecting interstate or

foreign commerce, in violation of Title 18 U.S.C. § 2251(a).

                                       COUNT 5

         Sexual Exploitation of a Child – Production of Child Pornography
                                 18 U.S.C. § 2251(a)

      Between May 1, 2021, and August 23, 2021, in the District of Kansas, the

defendant,

                            DUSTIN KENNETH STROM,

knowingly used a minor, Minor Victim 2 known to the Grand Jury, to engage in sexually

explicit conduct for the purpose of producing a visual depiction of such conduct, and

knowing and having reason to know that such visual depiction would be transmitted

using any means or facility of interstate or foreign commerce and in and affecting

interstate or foreign commerce, and such visual depiction was transmitted using any

means or facility of interstate or foreign commerce and in and affecting interstate or

foreign commerce, in violation of Title 18 U.S.C. § 2251(a).




                                            4
        Case 6:21-cr-10068-JWB Document 22 Filed 10/05/21 Page 5 of 13




                                       COUNT 6

         Sexual Exploitation of a Child – Production of Child Pornography
                                 18 U.S.C. § 2251(a)

      Between May 1, 2021, and August 23, 2021, in the District of Kansas, the

defendant,

                            THOMMIE-LYN STANSKY,

knowingly used a minor, Minor Victim 2 known to the Grand Jury, to engage in sexually

explicit conduct for the purpose of producing a visual depiction of such conduct, and

knowing and having reason to know that such visual depiction would be transmitted

using any means or facility of interstate or foreign commerce and in and affecting

interstate or foreign commerce, and such visual depiction was transmitted using any

means or facility of interstate or foreign commerce and in and affecting interstate or

foreign commerce, in violation of Title 18 U.S.C. § 2251(a).

                                       COUNT 7

         Sexual Exploitation of a Child – Production of Child Pornography
                                 18 U.S.C. § 2251(a)

      Between February 1, 2021, and August 23, 2021, in the District of Kansas, the

defendant,

                            THOMMIE-LYN STANSKY,

knowingly used a minor, Minor Victim 1 known to the Grand Jury, to engage in sexually

explicit conduct for the purpose of producing a visual depiction of such conduct, and

knowing and having reason to know that such visual depiction would be transmitted

                                            5
        Case 6:21-cr-10068-JWB Document 22 Filed 10/05/21 Page 6 of 13




using any means or facility of interstate or foreign commerce and in and affecting

interstate or foreign commerce, and such visual depiction was transmitted using any

means or facility of interstate or foreign commerce and in and affecting interstate or

foreign commerce, in violation of Title 18 U.S.C. § 2251(a).

                                       COUNT 8

                          Distribution of Child Pornography
                                 18 U.S.C. 2252A(a)(2)

      On or about August 23, 2021, in the District of Kansas, the defendant,

                            DUSTIN KENNETH STROM,

knowingly distributed child pornography, as defined in Title 18, United States Code,

Section 2256(8)(A), using any means and facility of interstate or foreign commerce, and

did so in and affecting interstate and foreign commerce by any means including by

computer, in violation of Title 18, United States Code, Section 2252A(a)(2).

                                       COUNT 9

                           Possession of Child Pornography
                               18 U.S.C. 2252A(a)(5)(B)

      On or about August 23, 2021, in the District of Kansas, the defendant,

                            THOMMIE-LYN STANSKY,

knowingly possessed and accessed with intent to view any computer disk and other

material which contained an image of child pornography, as defined in Title 18, United

States Code, Section 2256(8)A), that had been mailed, shipped and transported in

interstate and foreign commerce by any means, including by computer, and that was

                                            6
          Case 6:21-cr-10068-JWB Document 22 Filed 10/05/21 Page 7 of 13




produced using materials that have been mailed, shipped, and transported in interstate and

foreign commerce by any means, including by computer, and such child pornography

involved a prepubescent minor who had not attained 12 years of age, all in violation of

Title 18, United States Code, Section 2252A(a)(5)(B) and (b)(2).

                                        COUNT 10

       Conspiracy to Commit Sexual Exploitation of a Child – Production of Child
                                   Pornography
                             18 U.S.C. § 2251(a) and (e)

         Between June 1, 2021 and August 23, 2021, in the District of Kansas, the

defendants,

                           DUSTIN KENNETH STROM, and
                              DILLON E. EVERMAN,

did knowingly conspire with each other to use a minor, Minor Victim 1 known to the

Grand Jury, to engage in sexually explicit conduct for the purpose of producing a visual

depiction of such conduct, and knowing and having reason to know that such visual

depiction would be produced using materials that had been mailed, shipped, and

transported in and affecting interstate or foreign commerce, and knowing such visual

depiction would be transmitted using any means or facility of interstate or foreign

commerce and in and affecting interstate or foreign commerce, and such visual depiction

was transmitted using any means or facility of interstate or foreign commerce and in and

affecting interstate or foreign commerce, in violation of Title 18 U.S.C. § 2251(a) and

(e).



                                             7
        Case 6:21-cr-10068-JWB Document 22 Filed 10/05/21 Page 8 of 13




                                       COUNT 11

                          Distribution of Child Pornography
                                 18 U.S.C. 2252A(a)(2)

       On or about August 20, 2021, in the District of Kansas, the defendant,

                                DILLON E. EVERMAN,

knowingly distributed child pornography, as defined in Title 18, United States Code,

Section 2256(8)(A), using any means and facility of interstate or foreign commerce, and

did so in and affecting interstate and foreign commerce by any means including by

computer, in violation of Title 18, United States Code, Section 2252A(a)(2).

                                       COUNT 12

                             Possession of Child Pornography
                                 18 U.S.C. 2252A(a)(5)(B)

       On or about September 16, 2021, in the District of Kansas, the defendant,

                                DILLON E. EVERMAN,

knowingly possessed any computer disk and other material which contained an image of

child pornography, as defined in Title 18, United States Code, Section 2256(8)A), that

had been mailed, shipped and transported in interstate and foreign commerce by any

means, including by computer, and that was produced using materials that have been

mailed, shipped, and transported in interstate and foreign commerce by any means,

including by computer, and such child pornography involved a prepubescent minor who

had not attained 12 years of age, all in violation of Title 18, United States Code, Section

2252A(a)(5)(B) and (b)(2).

                                            8
        Case 6:21-cr-10068-JWB Document 22 Filed 10/05/21 Page 9 of 13




                            FORFEITURE ALLEGATION

       1.     The allegations contained in Counts 1-12 of this Superseding Indictment

are hereby realleged and incorporated by reference for the purpose of alleging forfeiture

pursuant to Title 18, United States Code, Section 2253(a).

       2.     Upon conviction of one or more of the offenses set forth in Counts 1, 2, 3,

4, 5, and 8, the defendant DUSTON KENNETH STROM shall forfeit to the United

States of America, pursuant to Title 18, United States Code, Section 2253(a), any and all

property used or intended to be used in any manner or part to commit or to promote the

commission of such offenses or any property traceable to such property, including but not

limited to:

       Samsung Galaxy S21 5G (IMEI 35616374129000) smartphone;

       All pursuant to Title 18 U.S.C. § 2253 (a).

       3.     Upon conviction of one or more of the offenses set forth in Counts 1, 2, 6,

7, and 9, the defendant THOMMIE-LYN STANSKY shall forfeit to the United States

of America, pursuant to Title 18, United States Code, Section 2253(a), any and all

property used or intended to be used in any manner or part to commit or to promote the

commission of such offenses or any property traceable to such property, including but not

limited to:

       Samsung Galaxy S21 (IMEI 359506143268138) smartphone;

       All pursuant to Title 18 U.S.C. § 2253 (a).




                                             9
        Case 6:21-cr-10068-JWB Document 22 Filed 10/05/21 Page 10 of 13




       4.     Upon conviction of one or more of the offenses set forth in Counts 10, 11,

and 12, the defendant DILLON E. EVERMAN shall forfeit to the United States of

America, pursuant to Title 18, United States Code, Section 2253(a), any and all property

used or intended to be used in any manner or part to commit or to promote the

commission of such offenses or any property traceable to such property, including but not

limited to:

       Iphone 6S, Model A1634 smartphone;

       All pursuant to Title 18 U.S.C. § 2253 (a).

                                          A TRUE BILL.

October 5, 2021                           s/Foreperson
DATE                                      FOREPERSON OF THE GRAND JURY

DUSTON J. SLINKARD
ACTING UNITED STATES ATTORNEY

By: /s/ Jason W. Hart
JASON W. HART
Assistant United States Attorney
District of Kansas
1200 Epic Center, 301 N. Main
Wichita, Kansas 67202
Ph: (316) 269-6481
Fax: (316) 269-6484
Email: Jason.hart2@usdoj.gov
Ks. S. Ct. No. 20276



       IT IS REQUESTED THAT THE TRIAL BE HELD IN WICHITA, KANSAS




                                            10
       Case 6:21-cr-10068-JWB Document 22 Filed 10/05/21 Page 11 of 13




                                   PENALTIES


Counts 1-7, 10 (Strom 1, 2, 3, 4, 5 and 10; Stansky 1, 2, 6, and 7; Everman 10)
   • Punishable by a term of imprisonment of not less than fifteen (15) years but
      not more than thirty (30) years. If such person has a prior conviction under
      section 1591, chapter 71, chapter 109A, chapter 110, chapter 117, or section
      920 of title 10 (article 120 of the Uniform Code of Military Justice), or under
      the laws of any state relating to aggravated sexual abuse, sexual abuse, or
      abusive sexual conduct involving a minor or ward, or sex trafficking of
      children, or the production, possession, receipt, mailing, sale, distribution,
      shipment, or transportation of child pornography, the term of imprisonment
      shall be for not less than twenty-five (25) years nor more than fifty (50)
      years. If such person has two or more prior convictions under chapter 71,
      chapter 109A, chapter 110, chapter 117, or section 920 of title 10 (article
      120 of the Uniform Code of Military Justice), or under the laws of any state
      relating to sexual exploitation of children, the term of imprisonment shall be
      for not less than thirty-five (35) years nor more than life.18 U.S.C. §
      2251(e).
   • A term of supervised release of not less than five (5) years and up to life. 18
      U.S.C. § 3583(k).
   • A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3).
   • A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).
   • A mandatory special assessment of $5,000.00 if defendant is a non-indigent
      person. 18 U.S.C. §3014(a)(3).
   • An additional assessment of not more than $50,000.00. 18 U.S.C.
      §2259A(a)(3).
                                          11
      Case 6:21-cr-10068-JWB Document 22 Filed 10/05/21 Page 12 of 13




Counts 8, 11 (Strom 8; Everman 11)
•    Punishable by a term of imprisonment of not less than five (5) years but not
     more than twenty (20) years. If such person has a prior conviction under
     section 1591, chapter 71, chapter 109A, chapter 110, or chapter 117, or
     under section 920 of title 10 (article 120 of the Uniform Code of Military
     Justice), or under the laws of any State relating to aggravated sexual abuse,
     sexual abuse, or abusive sexual conduct involving a minor or ward, or the
     production, possession, receipt, mailing, sale, distribution, shipment, or
     transportation of child pornography, or sex trafficking of children, the term
     of imprisonment shall be for not less than fifteen (15) years nor more than
     forty (40) years.
•    A term of supervised release of not less than five (5) years and up to life. 18
     U.S.C. § 3583(k).
•    A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3).
•    A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).
•    A mandatory special assessment of $5,000.00 if defendant is a non-indigent
     person. 18 U.S.C. §3014(a)(3).
•    An additional assessment of not more than $50,000.00. 18 U.S.C.
     §2259A(a)(3).
•    A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).
•    A mandatory special assessment of $5,000.00 if defendant is a non-indigent
     person. 18 U.S.C. §3014(a)(3).
•    An additional assessment of not more than $35,000.00. 18 U.S.C.
     §2259A(a)(2).


                                        12
      Case 6:21-cr-10068-JWB Document 22 Filed 10/05/21 Page 13 of 13




Counts 9 and 12 (Stansky 9; Everman 12)
   • Punishable by a term of imprisonment of not more than twenty years (20)
      years. If such person has a prior conviction under chapter 71, chapter 109A,
      chapter 110, or chapter 117, or under section 920 of title 10 (article 120 of
      the Uniform Code of Military Justice), or under the laws of any State
      relating to aggravated sexual abuse, sexual abuse, or abusive sexual conduct
      involving a minor or ward, or the production, possession, receipt, mailing,
      sale, distribution, shipment, or transportation of child pornography, the term
      of imprisonment shall be for not less than ten (10) years nor more than
      twenty (20) years. 18 U.S.C. § 2252A(b)(2).
   • A term of supervised release of not less than five (5) years and up to life. 18
      U.S.C. § 3583(k).
   • A fine not to exceed $250,000.00. 18 U.S.C. § 3571(b)(3).
   • A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).
   • A mandatory special assessment of $5,000.00 if defendant is a non-indigent
      person. 18 U.S.C. §3014(a)(3).
   • An assessment of not more than $17,000.00. 18 U.S.C. § 2259A(a)(1).




                                        13
